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                 U.S. District Court
               Middle District of Florida
                   Tampa Division

              GOVERNMENT EXHIBIT

     Exhibit No.: 314

     Case No.: 8:22-cr-259-WFJ-AEP

     UNITED STATES OF AMERICA

     vs.

     OMALI YESHITELA, ET AL.


     Date Identified:                    __________

     Date Admitted:                   ____________
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Message Date/Time -
                         Message Direction   Sender             Receiver           Message                                               Translation/Local Media Path
UTC+00:00 (yyyy/MM/dd)
2019/06/28 07:14:16      Incoming            Aleksey Mityagin   Alexander Ionov    Привет!                                               Hi!
                                                                                   Настала пора мне тебя подвергать чуток) извини))      It's time for me to bug you for a little bit) sorry))
2019/06/28 07:14:32      Incoming            Aleksey Mityagin   Alexander Ionov
2019/06/28 07:14:59      Incoming            Aleksey Mityagin   Alexander Ionov    Кто такой пени хес                                    Who's Pe[n]ny Hes[s]?
2019/06/28 07:15:13      Outgoing            Alexander Ionov    Aleksey Mityagin   Привет                                                Hi.
2019/06/28 07:15:16      Outgoing            Alexander Ionov    Aleksey Mityagin   Пенни                                                 Penny
2019/06/28 07:15:19      Outgoing            Alexander Ionov    Aleksey Mityagin   Это она                                               It's a she
2019/06/28 07:15:33      Incoming            Aleksey Mityagin   Alexander Ionov    Это уже неплохо))                                     That's not bad already))
2019/06/28 07:15:48      Outgoing            Alexander Ionov    Aleksey Mityagin   Можно сказать, что руководит аппаратом Ухуру          You could say, she's Uhuru's chief of staff
2019/06/28 07:15:53      Incoming            Aleksey Mityagin   Alexander Ionov    Вместо Егора пишу щас.                                I’m writing instead of Yegor right now.
2019/06/28 07:16:15      Incoming            Aleksey Mityagin   Alexander Ionov    А... Понял придумаю как обозвать.                     Oh... I got it. I'll figure out what to call her.
2019/06/28 07:16:26      Outgoing            Alexander Ionov    Aleksey Mityagin   Как таковой должности нет                             She doesn’t have a position as such.
2019/06/28 07:16:33      Outgoing            Alexander Ionov    Aleksey Mityagin   Третий человек в структуре                            She's the third person in the organization
2019/06/28 07:16:43      Incoming            Aleksey Mityagin   Alexander Ionov    Понял                                                 Got it.
2019/06/28 07:16:53      Incoming            Aleksey Mityagin   Alexander Ionov    Ок. Буду потом ещё вопросы задавать)                  OK. I’ll be asking more questions later)
2019/06/28 07:16:57      Outgoing            Alexander Ionov    Aleksey Mityagin   Оке                                                   Okay
                                                                                   Ее можно назвать секретарь оргкомитета ухуру?         Can I call her the secretary of Uhuru's organizing committee?
2019/06/28 07:18:06      Incoming            Aleksey Mityagin   Alexander Ionov
                                                                                   Руководитель аппарата звучит круче))) а так можно     Chief of staff sounds cooler))), otherwise, you can
2019/06/28 07:18:32      Outgoing            Alexander Ionov    Aleksey Mityagin
2019/06/28 07:18:45      Incoming            Aleksey Mityagin   Alexander Ionov    Напишу руководитель аппарата                          I'll write down 'Chief of staff'.
2019/06/28 07:19:20      Incoming            Aleksey Mityagin   Alexander Ionov    Когда выборы во Флориде?                              When is the election in Florida?
2019/06/28 07:19:32      Outgoing            Alexander Ionov    Aleksey Mityagin   Там написано)                                         It says there)
2019/06/28 07:19:37      Outgoing            Alexander Ionov    Aleksey Mityagin   26 августа                                            August 26
2019/06/28 07:19:56      Incoming            Aleksey Mityagin   Alexander Ionov    Ага. Спасибо                                          Uh-huh. Thank you
                                                                                   Это значит выборы главы муниципального совета?        Does that mean it's the head of the municipal council election? Or the city council.
2019/06/28 07:21:12      Incoming            Aleksey Mityagin   Alexander Ionov    Или городского совета.
2019/06/28 07:21:30      Incoming            Aleksey Mityagin   Alexander Ionov    Или депутат от 7 района горсовета                     Or the deputy from the 7th district of the city council
2019/06/28 07:21:31      Outgoing            Alexander Ionov    Aleksey Mityagin   Городского                                            The city one.
2019/06/28 07:21:46      Incoming            Aleksey Mityagin   Alexander Ionov    Выбирают главу или депутата?                          Are they electing the head or the deputy?
2019/06/28 07:22:00      Outgoing            Alexander Ionov    Aleksey Mityagin   Депутатов                                             Deputies
2019/06/28 07:22:07      Incoming            Aleksey Mityagin   Alexander Ionov    Пинял                                                 I got you
                                                                                   Какие СМИ осветили акции в Бостоне и                  What media outlets covered the rallies in Boston and Philadelphia?
2019/06/28 11:21:13      Incoming            Aleksey Mityagin   Alexander Ionov    Филадельфии?
2019/06/28 11:26:20      Outgoing            Alexander Ionov    Aleksey Mityagin   Не было                                               None
2019/06/28 11:33:55      Incoming            Aleksey Mityagin   Alexander Ionov    Проигнорировали Ам риканск е СМИ?                     The US mass media ignored it?
2019/06/28 11:34:18      Outgoing            Alexander Ionov    Aleksey Mityagin   Да                                                    Yes
2019/06/28 11:34:20      Outgoing            Alexander Ionov    Aleksey Mityagin   Иран же                                               It's Iran after all
                                                                                   Можно сказать что власти подвергли цензуре данные     One can say that the authorities censored these rallies?
2019/06/28 11:34:28      Incoming            Aleksey Mityagin   Alexander Ionov    акции?
2019/06/28 11:34:42      Outgoing            Alexander Ionov    Aleksey Mityagin   Да                                                    Yes
2019/06/28 11:34:47      Incoming            Aleksey Mityagin   Alexander Ionov    Ок                                                    Ok
2019/06/28 11:39:27      Incoming            Aleksey Mityagin   Alexander Ionov    Хочешь прикол?                                        Do you want to hear something funny?
2019/06/28 11:39:31      Outgoing            Alexander Ionov    Aleksey Mityagin   да                                                    Yes
2019/06/28 11:39:37      Outgoing            Alexander Ionov    Aleksey Mityagin   он хороший,                                           Is it good
2019/06/28 11:39:39      Outgoing            Alexander Ionov    Aleksey Mityagin   ?                                                     ?
                                                                                   Маленький шеф вызвал колену и сказал ему чтоб он      The little boss called Kolen [PH] in and told him to tell me to call Yegor [ICST] to tell him
                                                                                   передал мне, чтоб я позвонил Егору и сказал набрать   to call the little boss!
2019/06/28 11:40:16      Incoming            Aleksey Mityagin   Alexander Ionov    маленькому шефу!
2019/06/28 11:40:43      Outgoing            Alexander Ionov    Aleksey Mityagin   [Emoji(s)]
2019/06/28 11:40:51      Outgoing            Alexander Ionov    Aleksey Mityagin   вчера АБ в панике звонил                              Yesterday AB called in panic
2019/06/28 11:40:59      Outgoing            Alexander Ionov    Aleksey Mityagin   я не буду рассказывать детали                         I won't go into detail
2019/06/28 11:41:03      Outgoing            Alexander Ionov    Aleksey Mityagin   но там )))))                                          but it's ))))) there
2019/06/28 11:41:04      Incoming            Aleksey Mityagin   Alexander Ionov    Я в ахуе от такой организации процессов.              I'm fucking shocked by such organizational processes.
2019/06/28 11:41:21      Incoming            Aleksey Mityagin   Alexander Ionov    Да, на месте... Трудится в поте лица                  Yes, he is in… Working hard
2019/06/28 11:41:22      Outgoing            Alexander Ionov    Aleksey Mityagin    поздравляю ты очнулся)                               Congratulations on regaining consciousness)
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                                                                         Да я уже давно очнулся. Года три как. Но семью       Well, I regained consciousness a long time ago. Three years or so. But I have to feed my
2019/06/28 11:41:49   Incoming     Aleksey Mityagin   Alexander Ionov    кормить надо и до пенсии 4 года)                     family, and I have four years before I can retire)
2019/06/28 11:42:24   Outgoing     Alexander Ionov    Aleksey Mityagin   мне до пенсии еще 30                                 I can't retire for another 30
2019/06/28 11:42:30   Outgoing     Alexander Ionov    Aleksey Mityagin   поэтому                                              that's why
2019/06/28 11:42:35   Outgoing     Alexander Ionov    Aleksey Mityagin   мне хуже                                             I'm in a worse position
2019/06/28 11:42:42   Incoming     Aleksey Mityagin   Alexander Ionov    Вот поэтому я и терплю)                              That's exactly why I suck it up )
2019/06/28 11:43:00   Incoming     Aleksey Mityagin   Alexander Ionov    И утешаю себя тем что мне то 4 года всего)           And comfort myself with the fact that I have only four years to go)
2019/06/28 11:44:01   Outgoing     Alexander Ionov    Aleksey Mityagin   это пройдет                                          It'll pass
                                                                         Подскажи, кто такая эриту, она правозащитник,        Tell me who Eritha is. Is she a human rights activist, a mistress of Hess, or just an activist?
2019/06/28 14:28:01   Incoming     Aleksey Mityagin   Alexander Ionov    любовница Хесс, или просто активистка?
                                                                         Сколько собрали краудфайндингов всего бабла?         How much money was collected through crowd funding campaigns?
                                                                          450 баксов хватило на организацию штаба, агиток и    Was 450 bucks enough to organize a headquarters, agitation materials, etc.? Or [was it
                                                                         тп? Или из общей суммы?                              taken] out of the total?
2019/06/28 14:28:45   Incoming     Aleksey Mityagin   Alexander Ionov
                                                                         Media/79852722667@s.whatsapp.net/1/b/1b997de9-       Media/79852722667@s.whatsapp.net/1/b/1b997de9-4393-4d82-b6b2-
                                                                         4393-4d82-b6b2-e204257858c8.opus                     e204257858c8.opus

                                                                                                                              [Audio file]
                                                                               1b997de9-4393-4d82-b6b2-e204257858c8.opus
                                                                                                                              She is quite a famous human rights advo--[cate], well, not a human rights advocate per
2019/06/28 14:29:11   Outgoing     Alexander Ionov    Aleksey Mityagin                                                        se, she is just an activist. She ran video blogs at all the events. She constantly gave
                                                                         Media/79852722667@s.whatsapp.net/2/9/29bc8fa2-       Media/79852722667@s.whatsapp.net/2/9/29bc8fa2-88f0-4876-a128-97870bdfa93a.opus
                                                                         88f0-4876-a128-97870bdfa93a.opus
                                                                                                                              [Audio file]

                                                                                                                              I alone sent 450. As for how much was collected in total, I don’t know. I know that in
                                                                                29bc8fa2-88f0-4876-a128-97870bdfa93a.opus     those uhm… events I participated in, in the marathons, a minimum of uhm… one and a
                                                                                                                              half was collected from each over there. Plus, they also collected at the paid conferences
                                                                                                                              they arranged. I think that they… collected around 20 or 30 thousand dollars for sure. At
2019/06/28 14:29:38   Outgoing     Alexander Ionov    Aleksey Mityagin                                                        a minimum.
                                                                         Про реакцию после интервью Сары. Какая реакция       Regarding the reaction after Sara's [PH] interview. What was the reaction? Everyone
                                                                         была? Все ебанулись , кто-то даже обосрался? Чуть    went fucking crazy, someone even shit their pants? Be more specific, maybe a hashtag of
                                                                         конкретнее, может хештег какой появился или типа     some sort emerged or something like that.
2019/06/28 14:29:46   Incoming     Aleksey Mityagin   Alexander Ionov    того.
                                                                         Media/79852722667@s.whatsapp.net/d/6/d65b3ebe-       Media/79852722667@s.whatsapp.net/d/6/d65b3ebe-3abc-4c00-b3a5-
                                                                         3abc-4c00-b3a5-80d6cb15cdb1.opus                     80d6cb15cdb1.opus

                                                                                                                              [Audio file]

                                                                                 d65b3ebe-3abc-4c00-b3a5-80d6cb15cdb1.opus    I alone sent 450…but I do not know how much was collected in total. I know that during
                                                                                                                              those, um, events I participated in, in marathons, they were collecting, um, at least one
                                                                                                                              and a half from-from each person. In addition, they were also collecting at the
                                                                                                                              conferences they organized, those you had to pay for. I think that they…collected, um,
                                                                                                                              about 20-30 thousand dollars over there, for sure. At a minimum.
2019/06/28 14:31:10   Outgoing     Alexander Ionov    Aleksey Mityagin
2019/06/28 14:37:00   Incoming     Aleksey Mityagin   Alexander Ionov    Ясно.                                                I see.
2019/06/28 14:37:01   Incoming     Aleksey Mityagin   Alexander Ionov    Спасибо)                                             Thank you)
                                                                         Не знаешь какой процент жителей поддерживает         Do you know what percentage of residents supports Eritha?
2019/06/28 14:39:34   Incoming     Aleksey Mityagin   Alexander Ionov    эриту?
2019/06/28 14:44:41   Outgoing     Alexander Ionov    Aleksey Mityagin   Пенни говорит о 46%                                  Penny speaks about 46%
2019/06/28 14:51:19   Incoming     Aleksey Mityagin   Alexander Ionov    Угу.                                                 Uh-huh.
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                                                                         Media/79852722667@s.whatsapp.net/2/3/23424a3a-         Media/79852722667@s.whatsapp.net/2/3/23424a3a-c4fb-4584-bb63-62818e2c4a85.jpg
                                                                         c4fb-4584-bb63-62818e2c4a85.jpg




2019/06/28 21:03:51   Outgoing     Alexander Ionov    Aleksey Mityagin
2019/07/03 06:45:56   Outgoing     Alexander Ionov    Aleksey Mityagin   Привет                                            Hi
2019/07/03 06:46:01   Outgoing     Alexander Ionov    Aleksey Mityagin   Как сам?                                          What's up?
2019/07/03 06:46:09   Outgoing     Alexander Ionov    Aleksey Mityagin   Я еду в центр сейчас                              I'm going downtown right now
2019/07/03 06:46:21   Incoming     Aleksey Mityagin   Alexander Ionov    Привет!                                           Hi!
2019/07/03 06:46:23   Outgoing     Alexander Ionov    Aleksey Mityagin   До 12:30 там буду в районе Ильинки                I'll be in the vicinity of Ilinka till 12:30
2019/07/03 06:46:27   Outgoing     Alexander Ionov    Aleksey Mityagin   Могу подскочить                                   I can stop by
2019/07/03 06:46:28   Incoming     Aleksey Mityagin   Alexander Ionov    Я на варсонофьевском переулке                     I'm on Varsonofyevskiy Pereulok [ICST] [Varsonofevski Lane]
2019/07/03 06:46:31   Outgoing     Alexander Ionov    Aleksey Mityagin   Куда то                                           Someplace
2019/07/03 06:46:57   Incoming     Aleksey Mityagin   Alexander Ionov    В принципе в течении минут 40 я освобожусь.       Actually, I'll be available in about 40 minutes
2019/07/03 06:47:12   Outgoing     Alexander Ionov    Aleksey Mityagin   У меня встреча в 11:30                            I have a meeting at 11:30
2019/07/03 06:47:20   Outgoing     Alexander Ionov    Aleksey Mityagin   Я поеду к этому времени                           I’ll be heading out by then
2019/07/03 06:47:29   Outgoing     Alexander Ionov    Aleksey Mityagin   Я тебе наберу                                     I’ll call you
2019/07/03 06:47:32   Outgoing     Alexander Ionov    Aleksey Mityagin   Как поеду                                         When I head out
2019/07/03 06:47:41   Incoming     Aleksey Mityagin   Alexander Ionov    Хорошо. Буду ждать тебя.                          Okay. I’ll be waiting for you.
2019/07/03 06:48:04   Outgoing     Alexander Ionov    Aleksey Mityagin   Благодарю                                         Thank you
                                                                         Ты бумажки тоже возьми. Вроде их три должно быть? Take the papers with you, too. It seems like there must be three of them, right?
2019/07/03 07:06:19   Incoming     Aleksey Mityagin   Alexander Ionov
2019/07/03 07:07:43   Outgoing     Alexander Ionov    Aleksey Mityagin   Так мы же договорились что я Егору отдам               But we agreed that I'd give them to Yegor.
2019/07/03 07:07:47   Outgoing     Alexander Ionov    Aleksey Mityagin   15                                                     15
                                                                         Мне пофиг по большому счету. Просто борисыч про        I don't care for the most part. It's just that Borisych [PH] mentioned three papers... He
                                                                         три бумажку упомянул... Мало ли спросит. ... Я не      might ask. ... I don't insist.
2019/07/03 07:19:22   Incoming     Aleksey Mityagin   Alexander Ionov    настаиваю.
2019/07/03 07:19:38   Outgoing     Alexander Ionov    Aleksey Mityagin   Не переживай                                           Don't worry
2019/07/03 07:19:50   Outgoing     Alexander Ionov    Aleksey Mityagin   Если спросит скажи что я сказал отдам Егору            If he asks, tell [him] that I said I'd give [them] to Yegor.
2019/07/03 07:20:04   Outgoing     Alexander Ionov    Aleksey Mityagin   У меня одна появиться только вечером                   I’ll only get one tonight.
2019/07/03 07:20:16   Outgoing     Alexander Ionov    Aleksey Mityagin   Но я всегда их вовремя отдаю                           But I always give them away on time.
2019/07/03 07:20:19   Outgoing     Alexander Ionov    Aleksey Mityagin   [Emoji(s)]                                             [Emoji(s)]
2019/07/03 07:33:04   Incoming     Aleksey Mityagin   Alexander Ionov    Без проблем                                            No problem
2019/07/03 07:35:35   Incoming     Aleksey Mityagin   Alexander Ionov    Мне ₽ ляжку жарят) обжигают прям))                     The roubles are burning my thigh), or rather, scorching))
2019/07/03 07:37:40   Outgoing     Alexander Ionov    Aleksey Mityagin   [Emoji(s)]                                             [Emoji(s)]
2019/07/03 07:37:42   Outgoing     Alexander Ionov    Aleksey Mityagin   Почему                                                 Why
                                                                         Хочется потратить) на квартиру 150 к не хватает)       I feel like spending ) I'm 150k short for an apartment)
2019/07/03 07:59:05   Incoming     Aleksey Mityagin   Alexander Ionov
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2019/07/03 08:03:07   Outgoing     Alexander Ionov    Aleksey Mityagin   А как же нехры                                   But how about the Negroes?
2019/07/03 08:03:09   Outgoing     Alexander Ionov    Aleksey Mityagin   [Emoji(s)]                                       [Emoji(s)]
2019/07/03 08:03:10   Outgoing     Alexander Ionov    Aleksey Mityagin   [Emoji(s)]                                       [Emoji(s)]
2019/07/03 08:03:12   Outgoing     Alexander Ionov    Aleksey Mityagin   [Emoji(s)]                                       [Emoji(s)]
2019/07/03 08:03:15   Outgoing     Alexander Ionov    Aleksey Mityagin   [Emoji(s)]                                       [Emoji(s)]
2019/07/03 08:03:57   Incoming     Aleksey Mityagin   Alexander Ionov    Нехры?                                           The Negroes?
2019/07/03 08:04:02   Outgoing     Alexander Ionov    Aleksey Mityagin   Да                                               Yes
                                                                         Сюдя по всему я не понимаю о чем речь))) вот     From all appearances, I don't understand what it is about))), so that's why I'm short)))
2019/07/03 08:04:34   Incoming     Aleksey Mityagin   Alexander Ionov    поэтому и не хвататет)))
                                                                         Media/79852722667@s.whatsapp.net/b/a/ba87a8f4-   Media/79852722667@s.whatsapp.net/b/a/ba87a8f4-9b0e-4813-a13c-
                                                                         9b0e-4813-a13c-e72f96d9fe5e.webp                 e72f96d9fe5e.webp




2019/07/03 08:04:54   Outgoing     Alexander Ionov    Aleksey Mityagin
                                                                         Media/79852722667@s.whatsapp.net/5/f/5f555333-   Media/79852722667@s.whatsapp.net/5/f/5f555333-2d88-4b8b-b399-
                                                                         2d88-4b8b-b399-9a02d10f9e99.webp                 9a02d10f9e99.webp




2019/07/03 08:04:55   Outgoing     Alexander Ionov    Aleksey Mityagin
2019/07/03 08:05:11   Incoming     Aleksey Mityagin   Alexander Ionov    Последний норм стикер                            The last decent sticker [sic]
                                                                         Media/79852722667@s.whatsapp.net/a/4/a4cdb419-   Media/79852722667@s.whatsapp.net/a/4/a4cdb419-1131-49d6-b4c2-
                                                                         1131-49d6-b4c2-d333384fd5b7.webp                 d333384fd5b7.webp




2019/07/03 08:05:46   Outgoing     Alexander Ionov    Aleksey Mityagin
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2019/07/03 08:41:54   Incoming     Aleksey Mityagin   Alexander Ionov    Ты звонил? В подвале я был.                           Did you call? I was in the basement.
2019/07/03 08:42:06   Incoming     Aleksey Mityagin   Alexander Ionov    Щас связь появилась.                                  The connection is back on now.
2019/07/03 08:47:10   Outgoing     Alexander Ionov    Aleksey Mityagin   Да                                                    Yes
2019/07/03 08:47:14   Outgoing     Alexander Ionov    Aleksey Mityagin   Я на ильинке                                          I'm on Ilinka
2019/07/03 08:47:19   Outgoing     Alexander Ionov    Aleksey Mityagin   Хде вас ловить                                        Where can I catch you?
                                                                         Media/79852722667@s.whatsapp.net/4/b/4b024012-        Media/79852722667@s.whatsapp.net/4/b/4b024012-8cea-4f87-8f1f-09e43cdfeaaa.webp
                                                                         8cea-4f87-8f1f-09e43cdfeaaa.webp




2019/07/03 08:47:23   Outgoing     Alexander Ionov    Aleksey Mityagin
2019/07/03 08:47:45   Incoming     Aleksey Mityagin   Alexander Ionov    На варсонофьевском.                                   On Varsonofyevskiy.
2019/07/03 08:47:51   Incoming     Aleksey Mityagin   Alexander Ionov    Или я могу подъехать...                               Or I can drop in…
2019/07/03 08:47:53   Incoming     Aleksey Mityagin   Alexander Ionov    Я на мото.                                            I'm on a motorcycle.
2019/07/03 08:48:06   Outgoing     Alexander Ionov    Aleksey Mityagin   Если ты к тпп подскочил бы                            If you could stop by the tpp,
2019/07/03 08:48:10   Outgoing     Alexander Ionov    Aleksey Mityagin   Было бы супер                                         it would be awesome
2019/07/03 08:48:38   Outgoing     Alexander Ionov    Aleksey Mityagin   Я просто дольше на машине буду                        It's just that I will take longer by car
                                                                         Media/79852722667@s.whatsapp.net/2/d/2dfeba65-        Media/79852722667@s.whatsapp.net/2/d/2dfeba65-93a2-4f3e-9003-
                                                                         93a2-4f3e-9003-ec5d0831bb40.webp                      ec5d0831bb40.webp




2019/07/03 08:48:41   Outgoing     Alexander Ionov    Aleksey Mityagin
2019/07/03 08:49:05   Incoming     Aleksey Mityagin   Alexander Ionov    А куда ехать и там куда встать можно?                 So where do I go and is there a place where I can park there?
2019/07/03 08:49:10   Incoming     Aleksey Mityagin   Alexander Ionov    ТПП это что                                           What is TPP?
2019/07/03 08:49:26   Outgoing     Alexander Ionov    Aleksey Mityagin   Ильинка                                               Ilinka
2019/07/03 08:49:30   Outgoing     Alexander Ionov    Aleksey Mityagin   3/8                                                   3/8
2019/07/03 08:49:46   Outgoing     Alexander Ionov    Aleksey Mityagin   Где торгово промышленная палата                       Where the Chamber of Commerce and Industry is
                                                                         Ок. Ориентир какой? Чтоб не пропустить. Я то я ж на   OK. What's the landmark? To make sure I don't miss it. After all, I'll fly on a motorcycle at
2019/07/03 08:49:51   Incoming     Aleksey Mityagin   Alexander Ionov    мото 200 полечу..                                     200..
2019/07/03 08:50:01   Incoming     Aleksey Mityagin   Alexander Ionov    Ни о чем не говорит)                                  That doesn't tell me anything)
2019/07/03 08:50:01   Outgoing     Alexander Ionov    Aleksey Mityagin   Вот ты                                                Oh you
2019/07/03 08:50:08   Incoming     Aleksey Mityagin   Alexander Ionov    Ладно щас карту посмотрю.                             All right, I'll check the map right now.
                                                                         Media/79852722667@s.whatsapp.net/6/0/601477e9-        Media/79852722667@s.whatsapp.net/6/0/601477e9-91ef-44c4-9659-
                                                                         91ef-44c4-9659-71f3a48c329a.thumb                     71f3a48c329a.thumb




2019/07/03 08:50:16   Outgoing     Alexander Ionov    Aleksey Mityagin
2019/07/03 08:50:21   Outgoing     Alexander Ionov    Aleksey Mityagin   А если так?)                                          And if it's like this?)
                                                                         Ясно перед гумом после ОВД Китай город                I see, before GUM [State Department Store], after the Kitay-Gorod police department
2019/07/03 08:51:15   Incoming     Aleksey Mityagin   Alexander Ionov
2019/07/03 08:51:18   Incoming     Aleksey Mityagin   Alexander Ionov    Ща буду.                                              I'll be right there.
2019/07/03 08:51:28   Outgoing     Alexander Ionov    Aleksey Mityagin   Прям к Омвд                                           You can go
2019/07/03 08:51:30   Outgoing     Alexander Ionov    Aleksey Mityagin   Можешь                                                Straight to OMVD [Department of the Ministry of Internal Affairs]
2019/07/03 08:51:36   Outgoing     Alexander Ionov    Aleksey Mityagin   На их паркинг заезжай                                 Pull into their parking lot
2019/07/03 08:51:44   Incoming     Aleksey Mityagin   Alexander Ionov    Попробую.                                             I'll try.
2019/07/03 08:53:08   Outgoing     Alexander Ionov    Aleksey Mityagin   Ну тебе то грех не проехать                           It would be a sin for you not to drive by
2019/07/03 08:53:10   Outgoing     Alexander Ionov    Aleksey Mityagin   [Emoji(s)]                                            [Emoji(s)]
2019/07/03 08:53:13   Outgoing     Alexander Ionov    Aleksey Mityagin   Он открыт                                             It's open
2019/07/03 08:54:48   Outgoing     Alexander Ionov    Aleksey Mityagin   Напиши, как приедешь                                  Send a message once you arrive
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2019/07/03 08:54:49   Outgoing     Alexander Ionov    Aleksey Mityagin   Благодарю                                            I appreciate it
2019/07/03 09:01:49   Incoming     Aleksey Mityagin   Alexander Ionov    Я на месте                                           I'm here
2019/07/03 09:02:25   Outgoing     Alexander Ionov    Aleksey Mityagin   3 мин                                                Three minutes
2019/07/03 09:12:05   Incoming     Aleksey Mityagin   Alexander Ionov    ??)                                                  ??)
2019/07/03 09:12:40   Outgoing     Alexander Ionov    Aleksey Mityagin   Выхожу                                               I'm on my way out
2019/07/03 09:12:40   Incoming     Aleksey Mityagin   Alexander Ionov    5% зарядка осталось..                                I have 5% battery charge left…
2019/07/03 09:12:43   Outgoing     Alexander Ionov    Aleksey Mityagin   Лифт жду                                             I'm waiting for the elevator
2019/07/03 09:12:49   Incoming     Aleksey Mityagin   Alexander Ionov    [Emoji(s)]                                           [Emoji(s)]
2020/04/03 07:34:24   Incoming     Aleksey Mityagin   Alexander Ionov    Привет                                               Hi
2020/04/03 07:34:37   Incoming     Aleksey Mityagin   Alexander Ionov    Несколько вопросов.                                  A few questions.
2020/04/03 07:34:55   Incoming     Aleksey Mityagin   Alexander Ionov    Что такое inPDUM                                     What is inPDUM?
2020/04/03 07:35:11   Incoming     Aleksey Mityagin   Alexander Ionov    Невельски и Хесс кто такие?                          Who are Nevelski [PH] and Hess?
2020/04/03 07:35:37   Incoming     Aleksey Mityagin   Alexander Ionov    Когда радиоэфир прошел?                              When was the radio broadcast?
2020/04/03 07:52:48   Outgoing     Alexander Ionov    Aleksey Mityagin   Привет.                                              Hi.
2020/04/03 07:52:55   Outgoing     Alexander Ionov    Aleksey Mityagin   Ухуру                                                Uhuru
2020/04/03 07:53:12   Outgoing     Alexander Ionov    Aleksey Mityagin   Движение чёрных, подразделение Ухуру                 The Black Movement, Uhuru branch
2020/04/03 07:53:19   Outgoing     Alexander Ionov    Aleksey Mityagin   Три дня назад                                        Three days ago
2020/04/03 07:58:33   Incoming     Aleksey Mityagin   Alexander Ionov    Ок. Спасибо)                                         OK. Thank you)
                                                                         Media/79852722667@s.whatsapp.net/5/0/509864b5-       Media/79852722667@s.whatsapp.net/5/0/509864b5-bb13-4bf9-bc94-
                                                                         bb13-4bf9-bc94-12402438d531.webp                     12402438d531.webp




2020/04/03 07:59:21   Outgoing     Alexander Ionov    Aleksey Mityagin
2020/04/03 07:59:35   Incoming     Aleksey Mityagin   Alexander Ionov    Как расшифровывается?                                What does it stand for?
2020/04/03 08:00:25   Outgoing     Alexander Ionov    Aleksey Mityagin   Ну ты шо                                             You can't be serious
2020/04/03 08:00:41   Outgoing     Alexander Ionov    Aleksey Mityagin   Это и есть Ухуру                                     That is Uhuru
2020/04/03 08:00:48   Incoming     Aleksey Mityagin   Alexander Ionov    Ага.                                                 Uh-huh.
                                                                         Media/79852722667@s.whatsapp.net/f/7/f73ef472-       Media/79852722667@s.whatsapp.net/f/7/f73ef472-1962-4b28-b6bb-a92c04a01964.opus
                                                                         1962-4b28-b6bb-a92c04a01964.opus
                                                                                                                              [Audio file]
                                                                         [Audio file]
                                                                                                                              It is translated as the International People [sic] Democracy [sic] Uhuru Movement. It
                                                                                                                              means the International People’s Democratic Uhuru Movement.
                                                                               f73ef472-1962-4b28-b6bb-a92c04a01964.opus

2020/04/03 08:02:00   Outgoing     Alexander Ionov    Aleksey Mityagin
2020/04/03 08:02:43   Incoming     Aleksey Mityagin   Alexander Ionov    Огонь)                                               Fire)
2020/04/03 08:02:46   Incoming     Aleksey Mityagin   Alexander Ionov    Спасибо                                              Thanks
                                                                         Media/79852722667@s.whatsapp.net/5/7/5756c508-       Media/79852722667@s.whatsapp.net/5/7/5756c508-0eb0-48c3-892d-
                                                                         0eb0-48c3-892d-df70e045f98e.webp                     df70e045f98e.webp




2020/04/03 08:02:48   Outgoing     Alexander Ionov    Aleksey Mityagin
                                                                         Пытаюсь разобраться. Резидент ухуру каламбаи. А      I'm trying to figure it out. Uhuru's resident is Kalambayi. And who is Yeshitela -
2020/04/03 08:44:11   Incoming     Aleksey Mityagin   Alexander Ionov    йешитела кто председатель?                           Chairman?
2020/04/03 08:48:46   Incoming     Aleksey Mityagin   Alexander Ionov    Не резидент а президент.                             President, not resident.
2020/04/03 08:52:45   Incoming     Aleksey Mityagin   Alexander Ionov    Все, разобрался.                                     That's it, I figured it out.
2020/04/03 08:53:01   Outgoing     Alexander Ionov    Aleksey Mityagin   Видишь как                                           You see how it is
                                                                         Вопрос возник. Род взаимодействия с Шаки Бои...      I have a question. The nature of interaction with Shaki Boi [PH]… Are they ADR
2020/04/03 15:35:11   Incoming     Aleksey Mityagin   Alexander Ionov    Они информ партнёры адр?                             inform[ation] partners?
                                                                         Он в РФ представитель фарс ньюс или в Тегеране?      Does he represent Fars News in the Russian Federation [RF] or in Tehran?
2020/04/03 15:35:31   Incoming     Aleksey Mityagin   Alexander Ionov
                                                                         Да я его с 13 года знаю привозил его даже в Москву   Yes, I've known him since [20]13, I even brought him to Moscow
2020/04/03 15:35:41   Outgoing     Alexander Ionov    Aleksey Mityagin
2020/04/03 15:35:53   Outgoing     Alexander Ionov    Aleksey Mityagin   Он глава Международного департамента фарс            He is the Head of the Fars International Department
2020/04/03 15:36:03   Incoming     Aleksey Mityagin   Alexander Ionov    В этом не сомневаюсь)                                I don't doubt it)
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2020/04/03 15:36:19   Incoming     Aleksey Mityagin   Alexander Ionov    Он в РФ?                                         Is he in the Russian Federation?
2020/04/03 15:36:23   Outgoing     Alexander Ionov    Aleksey Mityagin   В Тегеране                                       In Tehran
                                                                         Media/79852722667@s.whatsapp.net/9/8/9896759d-   Media/79852722667@s.whatsapp.net/9/8/9896759d-d5db-4e5b-ac75-
                                                                         d5db-4e5b-ac75-85b8aebc6050.webp                 85b8aebc6050.webp




2020/04/03 15:36:27   Outgoing     Alexander Ionov    Aleksey Mityagin
2020/04/03 15:36:40   Incoming     Aleksey Mityagin   Alexander Ionov    Как ты с ним взаимодействовать начал?            How did you start interacting with him?
                                                                         Мне задают странные вопросы... Я пытаюсь найти   I'm being asked weird questions… I'm trying to find answers))
2020/04/03 15:36:53   Incoming     Aleksey Mityagin   Alexander Ionov    ответы))
2020/04/03 15:37:07   Incoming     Aleksey Mityagin   Alexander Ionov    Он получается информ партнёр адр или как?        So he turns out to be an ADR information partner or what?
2020/04/03 15:37:50   Outgoing     Alexander Ionov    Aleksey Mityagin   Я давал пресс конференцию в фарс а 2013          I gave a press conference in Fars in 2013
2020/04/03 15:37:54   Outgoing     Alexander Ionov    Aleksey Mityagin   Там познакомились                                We met there
2020/04/03 15:37:56   Outgoing     Alexander Ionov    Aleksey Mityagin   Дружим                                           We are friends
2020/04/03 15:38:09   Outgoing     Alexander Ionov    Aleksey Mityagin   Он в том числе поддерживает информационно        Besides, he provides informational support
2020/04/03 15:38:32   Incoming     Aleksey Mityagin   Alexander Ionov    Ок                                               OK
2020/04/24 14:21:22   Incoming     Aleksey Mityagin   Alexander Ionov    Привет.                                          Hi.
                                                                         Подскажи, сколько человек примерно в неделю      Could you tell me, approximately, how many people come to Uhuru every week?
2020/04/24 14:21:35   Incoming     Aleksey Mityagin   Alexander Ionov    приходит в ухуру?
2020/04/24 14:36:27   Outgoing     Alexander Ionov    Aleksey Mityagin   В неделю по разному от 5 до 15                   Every week it varies from 5 to 15
2020/04/24 14:36:33   Outgoing     Alexander Ionov    Aleksey Mityagin   Плюс минус                                       More or less
2020/04/24 14:42:44   Incoming     Aleksey Mityagin   Alexander Ionov    Ок. Спасибо.                                     OK. Thanks.
